
28 So.3d 260 (2010)
STATE of Louisiana
v.
Dwayne Henry ISOM.
No. 2010-KK-0371.
Supreme Court of Louisiana.
February 19, 2010.
Denied on the showing made. The court of appeal majority's ruling evidently turned on the sufficiency of the probable cause affidavit submitted after the defendant was ordered released on the violation of La.Code Crim. Proc. art. 230.2. Because relator has not provided this Court with the affidavits for the initial arrest and the re-arrest following the order of release, there is nothing for this Court to review at this time to determine the correctness of the court of appeal's ruling. We make no comment on whether the court of appeal correctly applied State v. Wallace, 09-1621 (La.11/6/09), 25 So.3d 720.
JOHNSON, J., concurs in the denial of the writ application.
